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                        IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

  UNITED STATES OF AMERICA                            §
                                                      §
                                                      § CASE NUMBER 6:21-CR-00025-JDK
  v.                                                  §
                                                      §
                                                      §
  JUSTIN TRENT STEWART (9)                            §
                                                      §


                FINDINGS OF FACT AND RECOMMENDATION ON
         GUILTY PLEA BEFORE THE UNITED STATES MAGISTRATE JUDGE

        Pursuant to 28 U.S.C. ' 636(b), this matter has been referred by the District Court for

 administration of a plea of guilty under Rule 11 of the Federal Rules of Criminal Procedure.

        On December 3, 2021, this cause came before the undersigned United States Magistrate

 Judge for a plea of guilty to an Indictment charging Defendant Justin Trent Stewart in Count

 Twenty with a violation of Title 18 U.S.C. § 924(c) – Use, Carrying, and Possession of a Firearm

 During and in Furtherance of a Drug Trafficking Crime. After conducting said proceeding in the

 form and manner prescribed by FED. R. CRIM. P. 11, the undersigned finds that:

        a.      Defendant, after consultation with counsel of record, has knowingly and voluntarily

 consented to the administration of the Guilty Plea in this cause by a United States Magistrate Judge,

 subject to a final acceptance and imposition of sentence by the District Judge;

        b.      Defendant and the government have entered into a plea agreement which has been

 filed and disclosed in open court pursuant to FED. R. CRIM. P. 11(c)(2);

        c.      Defendant is fully competent and capable of entering an informed plea, that the

 defendant is aware of the nature of the charges, the maximum penalties, and the consequences of

 the plea, and that the plea of guilty is a knowing and voluntary plea supported by an independent

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 basis in fact containing each of the essential elements of the offense; and

        d.      Defendant understands each of the constitutional and statutory rights enumerated

 in Rule 11(b) and wishes to waive these rights, including the right to a trial by jury.

        IT IS THEREFORE RECOMMENDED that the District Court accept the Plea

 Agreement and the Guilty Plea of the defendant and that JUSTIN TRENT STEWART should

 be finally adjudged guilty of that offense.

        Defendant has waived his right to object to the findings of the Magistrate Judge in this

 matter, and the Government also waived its right to object, so the Court will present this Report

 and Recommendation to District Judge Jeremy D. Kernodle for adoption immediately upon

 issuance.



   So ORDERED and SIGNED this 3rd day of December, 2021.




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